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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

ADVENT INTERNATIONAL
CORPORATION,
                                                 Misc. Case No.:
                     Petitioner,
                                                 Underlying Action:
v.
                                                 Servicios Funerarios GG, S.A. de C.V. v.
ANDRE EL-MANN ARAZI, GONZALO
                                                 Advent International Corporation, Case No.
PEDRO ROBINA IBARRA, FIBRA UNO
                                                 23-CV-10684-IT (D. Mass.)
ADMINISTRACION S.A. DE C.V.,

                     Respondents.




       ADVENT INTERNATIONAL CORPORATION’S RULE 7.1 CORPORATE
                       DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Petitioner Advent

International Corporation, n/k/a Advent International, L.P. (“AIC”), by and through its

undersigned counsel, certifies that AIC has no parent corporation and that no publicly held

corporation owns 10 percent or more of AIC’s stock. At the time the underlying action was filed

AIC was a citizen of Delaware and Massachusetts.
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Dated: January 10, 2024

Respectfully submitted,

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